         Case 1:19-cr-00696-PAE Document 163 Filed 11/16/20 Page 1 of 3




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


    UNITED STATES OF AMERICA,

                                                                         19-CR-696 (PAE)
                        -v-
                                                                       AMENDED ORDER1
    ARI TEMAN,

                                        Defendant.


PAUL A. ENGELMAYER, District Judge:

        On June 5, 2020, the Court issued a lengthy decision resolving defendant Ari Teman’s

post-trial motions (Dkt. No. 138 ((“Dec’n”)). Among the issues resolved were Teman’s claims

that the Government violated its obligations under Brady v. Maryland, 373 U.S. 83, 87 (1963),

Giglio v. United States, 405 U.S. 150, 154 (1972), and the Jencks Act, 18 U.S.C. § 3500. See

Dec’n at 87–107. The Court found these claims, and Teman’s other challenges to his

convictions, meritless. Id.

        Five months later, with his sentencing date approaching, Teman, through new counsel,

now seeks to litigate anew his Brady claims (Dkt. No. 156). Teman does not cite any new

evidence as a basis to reopen these issues. His stated basis is instead the Court’s issuance of an

order, on October 30, 2020, pursuant to newly enacted Federal Rule of Criminal Procedure 5(f).

Id. at 1. That order (Dkt. No. 153) reminded the Government of its Brady obligations, as Rule

5(f) requires the Court to do at the first scheduled conference in a criminal case; the Court’s



1
  This order amends the Court’s order of November 16, 2020. Dkt. 161. That order mistakenly
stated, on page 2, that based on the Government’s letter at Dkt. 158, the answer to the two
questions posed by the Court in this order appeared to be “no.” In fact, based on the
Government’s letter, the answer to the first appears to be “yes” and the answer to the second
appears to be “no.” The Court apologizes to counsel for any confusion caused by this error.
                                                 1
         Case 1:19-cr-00696-PAE Document 163 Filed 11/16/20 Page 2 of 3




practice, since the adoption of Rule 5(f) pursuant to the recent Due Process Protections Act, has

been to issue a written such order in all pending cases, even longstanding ones such as this. But

Rule 5(f) does not work any substantive change in the Government’s disclosure obligations.

       Notwithstanding the lack of any basis for Teman to belatedly pursue reconsideration of

the denial of his Brady claims, the Court, in the interests of completeness, is reviewing Teman’s

letter on the merits. To assist the Court in its review, the Court directs Government counsel to

submit a sworn declaration answering the following two questions:

      1. Has the Government produced to the defense all writings in its possession
         reflecting statements by Joseph Soleimani regarding the Housing Court Case
         or the Housing Court Order, including but not limited to notes taken by
         Government personnel reflecting statements made by Soleimani during
         interviews?

      2. Is the Government aware of any oral statements made by Soleimani that
         contradict any aspect of his trial testimony, including any oral statements
         made by Soleimani after the Court, on January 21, 2020, directed the
         Government to speak to Soleimani about the Housing Court matter?
      The Government’s letter in response to Teman’s letter (Dkt. No. 158) indicates that the

answer to the first of these questions is yes and the answer to the second is no. Id. at 2–3. The

Court nevertheless would benefit from receipt of a declaration from counsel explicitly

responding to these questions. Counsel’s declaration need not answer the other queries Teman

poses in his reply letter (Dkt. No. 159). If, however, the answer to either of the above questions

is other than anticipated above, the Court expects that counsel’s declaration will elaborate.

       The Government’s declaration is due Wednesday, November 18, 2020. The Court does

not invite any additional submissions from counsel as to the issues addressed herein.




                                                 2
       Case 1:19-cr-00696-PAE Document 163 Filed 11/16/20 Page 3 of 3




      SO ORDERED.



                                             PaJA.�
                                         __________________________________
                                               PAUL A. ENGELMAYER
                                               United States District Judge

Dated: November 16, 2020
       New York, New York




                                     3
